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                                                                   December 8, 2023
BY ECF
The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       RE:     In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

        I write to advise the Court of a supplemental production received from the United
Kingdom’s Metropolitan Police Service (“MPS”) pursuant to this Court’s June 9, 2021 Request
to the United Kingdom for International Judicial Assistance pursuant to the Hague Convention of
18 March 1970 on Taking of Evidence Abroad in Civil or Commercial Matters (“Hague
Convention Request”) (ECF 6384-1, 6858).

         At today’s date, December 8, 2023, pursuant to the terms of the Hague Convention
Request, a complete set of copies of the MPS materials received (the “MPS 2023 Production”)
has been filed under seal with the U.S. District Court for the Southern District of New York.
The filing consists of two (2) 4TB USB hard drives that are exact copies of the hard drives the
MPS produced, as well as one (1) DVD containing the materials the MPS provided via secure
file transfer.

        Plaintiffs will provide defense counsel with a complete set of copies of the MPS 2023
Production as quickly as possible. We are also providing courtesy copies to the Department of
Justice of both the complete MPS 2023 Production and the complete MPS 2022 Production.

        The Hague Convention Request sought to obtain copies of “evidential holdings
(historical)” from the MPS related to Saudi government employee Omar al-Bayoumi, for
purposes of the litigation against the Kingdom of Saudi Arabia pending before the United States
District Court for the Southern District of New York (03-MDL-1570).

        The MPS identified additional material responsive to the Hague Convention Request, as
set forth in the sworn statement of MPS Detective Superintendent David McGillicuddy. See
Exhibit A to the Declaration of J. Gavin Simpson, Esq. Those materials were handed over to
counsel for the Ashton Plaintiffs pursuant to the terms of the Hague Convention Request, with
the handover completed at today’s date, December 8, 2023. See Simpson Decl.
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                                                                 The Honorable Sarah Netburn




Respectfully Submitted,

 KREINDLER & KREINDLER

 /s/ J. Gavin Simpson, Esq.
 James Gavin Simpson, Esq
 485 Lexington Avenue, 28th Floor
 New York, NY 10017



cc:    Hon. George B. Daniels (via email)
       Assistant United States Attorneys Sarah Normand and Jeannette Vargas
       (via Overnight Mail)
       All counsel of record (via ECF/CM)
